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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Caption in Compliance with D.N.J. LBR
   9004-1(b)

   MANDELBAUM BARRETT PC                           Case No. 23-13359 (VFP)
   3 Becker Farm Road, Suite 105
   Roseland, New Jersey 07068                      Chapter 11
   Ph.: 973-736-4600
   Fax: 973-736-4670
   Joshua S. Bauchner
   jbauchner@mblawfirm.com

   Attorneys for Texas Taxing Authorities

   In re

   Bed Bath & Beyond, Inc.

                          Debtor.

                                    NOTICE OF HEARING

           PLEASE TAKE NOTICE that on the 19th day of December, 2023 at 10:00 a.m., the

 undersigned, counsel for Texas Taxing Authorities (“Creditor”), shall move before the Honorable

 Vincent F. Papalia, United States Bankruptcy Judge, by telephone via Court Solutions, for entry

 of an order granting:

     1. Joint Motion of Texas Taxing Authorities to Compel Payment of Remaining Amounts
        Due on Year 2022 AD Valorem Business Personal Property Taxes. (Document No.:
        2664) (the “Motion”).

           PLEASE TAKE FURTHER NOTICE that parties shall make arrangements to appear

 telephonically by Court Solutions http://www.Court-Solutions.com, no later than 3:00 p.m. the

 court day prior to the hearing.

           PLEASE TAKE FURTHER NOTICE that all papers relating to the Motion can be

 obtained by contacting the undersigned.


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          PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the

 Motion shall: (i) be in writing, (ii) state with particularity the basis of the objection; and (iii) be

 filed with the Clerk of the United States Bankruptcy Court electronically by attorneys who

 regularly practice before the Bankruptcy Court in accordance with the General Order Regarding

 Electronic Means for Filing, Signing, and Verification of Documents dated March 27, 2002 (the

 “General Order”) and the Commentary Supplementing Administrative Procedures dated as of

 March 2004 (the “Supplemental Commentary”) (the General Order, the Supplemental

 Commentary and the User’s Manual for the Electronic Case Filing System can be found at

 www.njb.uscourts.gov, the official website for the Bankruptcy Court) and, by all other parties-in

 interest, on CD-ROM in Portable Document Format (PDF), and shall be served in accordance

 with the General Order and the Supplemental Commentary, so as to be received no later than

 December 12, 2023 at 4:00 PM.

          PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,

 the Application may be decided on the papers in accordance with D.N.J. LBR 9013-3(d), and the

 relief requested may be granted without further notice or hearing.

          PLEASE TAKE FURTHER NOTICE that the undersigned requests oral argument on the

 return date of the Application if objections are timely filed.

 Dated: November 22, 2023                       Respectfully submitted,
                                                Counsel for the Texas Taxing Authorities:

                                                /s/ Joshua S. Bauchner
                                                Joshua S. Bauchner
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                                                Co-Counsel for the Texas Taxing Authorities:

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                                           /s/ Julie Anne Parsons
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                                           /s/ Tara L. Grundemeier
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